Case 1:04-cv-01224-.]DT-STA Document 19 Filed 04/26/05 Page 1 of 2 Pa e|D 25

 

 

 

 

 

United States District Court
WESTERN omch oF TENNESSEE
Eastem Division

 

JUDGMENT IN A CIVIL CASE
MARY L. POE
v.

JO ANNE B. BARNHART, CASE NUMBER: 1:04-‘1224 T/An
COMM|SS|ONER, SOC|AL
SECURETY ADM|N|N|STRAT|ON,

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

iT |S ORDERED AND ADJUDGED that in compliance with the order entered in
the above-styled matter on 4/20/2005, the decision of the Commissioner is hereby
REMANDED for further administrative proceedings consistent with this opinion.

 

APPRovED:
/,Z) - QMYJ\
JA so.Tooo

U TED STATES D|STR|CT JUDGE

ROBERT R. Di TROL|O
CLERK

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DATE i oEPuTv CLERK

This document entered on the docket sheet in compliance

with Ru|e 58 and/or 79(3) FRCP on q l <Q g l 05

 

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This notice confirms a copy of the document docketed as number 19 in
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ESSEE

 

Joe A. Dycus

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

John B. Whitesell
WH[TESELL LAW OFFICES
P.O. Box 1048

Fulton7 KY 42401

Honorable J ames Todd
US DISTRICT COURT

